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                                         JAMES MADISON UNIVERSITY - EMPLOYMENT AGREEMENT
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                                         ADMINISTRATIVE AND PROFESSIONAL FACULTY MEMBER

       JAMES MADJSON
        VNIVERStTYo                THIS AGREEMENT Is entered Into between James Madison UnlvetSity ("JMU j and Darta Edwards
                                   ("the ilc:uftt/ membef"). for emplc,yment of the faeulty member by JMU In the Profes9tonaf & Conllnui119
                                   Education depertment. The faculty mermGr is hereby employed 88 a, admhlstratlYe and prol'esslonal
                                   member of the faculty at JMU. Therefore, accoroing 1D 1he lollowing terms and condlaons, JMU agJWS
                                   to ell1)10y the facll� member at JMU during the contract term. In return, the faculty member d
                                   perfoim asslgned duties at JMU and v.ill abJde by the policies and proceduA,s ofJMU.

   I.
   1.1.
         TERM                                                 l'l
         The perfod d this a;reement shaU run from 8125/Jtrthmugh et.30f20, unle&s it is renewed for subseqUent terms as
         prow1ed below in 5.1.               .           1 'l
   12.   This appointment Is for an fnfll9I tenn of &'25/jB"lhrougll 6130120 (NOTE: end date must b9 no faler than June 30. This
         contract 18 Invalid Hthe lniial '91m Is for mom than one year.]
   IL SPECIFICS OF APPOINTMENT
   2.1.  The �fly mernbe(s tit1e 18 Ofmctor of Special PR>jects. •
   2.2.  The fsculty member's direct aipeMSOri8 Carol FJemrng
   2.3.  The faculty member Is a fu11.time, benefits eliglNe employee. (NOTE: forpa,t-lJme faculty appolrtm8nl$ do not use /JllB
            form.]
   ID. OBUGATIONS OF JMU
             3.1. JMU will ullllze the faculty member to provide admlnlstlattve and/o, pn:ifess!onal facul ty eerkes In the Pro!es$i0fl81 &
             Continuing Education deparlmenL Outle& wt» be at the dlscnltlon of JMU and wllJ entail the faculty member pertonnlng
             assigned dUtles.
             Duties and 8891gnmenta may be changed from lfma to time at the discretion of JMU.
   3.2.      JMU v.fll be respon$ible for p!'OVlcfng the faoo lly member wfth an spp ,opriate office space and other non-moneta iy support
             associated With his or her dlltfes as an adffllnlslraffye and prof'essional faculty memller at JMU durtng lhe term of tt1'1
            agreement SUdl support wi1 be at the aote di8Cl8tion ofJMU. Any purchase8 made by JMU in support ofthe f'aQity
            membels assignment will remain the p,operty of JMU and must be aurmn<lered by tile faculty member on termination or
            this agn.emenL
   3.3.     JMU 'Mil pay lhe faculty member a salary, which Is the equivalentof $83.228 per annum, payable In aemJ.-monthly
            lnstaffmenls lhrough 1h& payroll� . and utntzfng lfle c.frect deposit system, for lhe teml of lhlsagreemenl
   3.4.     Duri ng the term of this 89f"ffl8Jll and any eubsequent rellEM8! terms, the faculty member wiU be ellgible for an y base
           sslary inaease orbonus provided by the Coounonwuatth otVllg!nla or JMU to adminlstralfve and pn:,feaslonal faculty as
           Jong as the facutty member meets lhe speclffed criteria for such fncrease orl:>onus.
  3.5.     JMU I& hereby relkMld of any liabll'lty r unable to meet the responsibllltles ofthe agreement because ofany cause beyond
           the con1rol ofJMU. Furth81'11'10fe, in the event of such cause, JMU ie not liable for any damages that the faculty member
           might suffer. SpecificalJy, tf fi.mdfng forthiS poaition Is oo longer avallabfe, the con1laCt will end and JMU wl!I have no
           lfabl llly for any damages.
  3.6.     JMU wlll provide the normal employee benefits due to a full�e administrative and professional facuty member dtJi'qJ the
           period ofthe agreement.
  3.7.     If for any reason trle facuily member fak or ceases to perform the assignment forJMU as mquired hereln. JMU v,;n be
           relleYed of any reSpOnsblllty to make further paymenw ll1der lhla agreement to the faculty member, upon notJce eent by
           JMU to the faculty member ofsueh failure fo perft>rm.
  rv. OBLIGATIONS OF FACULTY MEMBER
  4.1.    Thefaculty member will be msponsibfe for perf0rmlng alt aSlligned dU11es f'eflllfUlly and to the bestofhls or llerabffities.
  4.2.    The relation6tl lp between the faculty member and JMU Is g<M)ffled by the provblons of the Jatne8 Madison University
          pollcfes and procedures, stale and federal regulatlOns and laws. By dgnl ng tN9 agreement. the perscn named herein
          a grees to ablde by lhe8e pollcles. procedures, regulation$ and law8, and any modificationsther9to.
 4.3.     This agreement is oondltloned on the abllty of the faculty member to demonstrate to JMU his or her oontinu8d
          auttiortzatlon lo v,,oric in the United States. under the tenns of the lmmfgratlon and Natwaliza1ion laws d the United Statss.
 4.4.     If for any reas<ln 1he faculty member's employment Is tennln8'ted according to the provisions of article VI herein, JMU wiD
          be relieved Of any ,eeponslbllity to make fur1her payments under this agreement to the faculty member other tilan those
         payments mandated fn JMU polloy.
 V. Rl:NEWAL
 5.1.    This agreement may be renewed for subsequent terms upon agreement or JMU and the faculty member; the mnewal wlff
         occur eutomalk:alty ff no t'IOtloe of nonrenewal ia g!Yen by the end of !he contract term. Nonrenewal of employment may
         oocur at any time and for any reason, and the faculty member $81V8S in this posffion at the pleasured Ile university.
 5.2.    JMU will notify the faculty member if it 11 detemlltled that the faculty member's contract will not be renewed. The renewal
         term may be for oo y tengtt, agreed upon by th& parties, but shall not exceed one year for any given renewal. Renewal shall
        be et th& discretion of JMU, and no guarantee of renswal Is Qt.-en by the university to the faculty membec. Employees hired
        and funded through grant& WhO went hired aftar Jlirf 1, 2017, and� hired end fi.lnded through afflliatfon
        agreements With outside entities (regardleSS of hire date) ere not entltled to separatfon pay upon nonrenewal under policy
         1335.
 5.3.   It Is the polfcy of JMU to provide annual evaluatloM or the faQJ!ty membeta performance. Reappointment Is based on
        satisfactory performance and the needs of the univel'sity. Notice of nonrenewal of this ccntract wlR residt in its automatic
        termination on June 30, 2020 . unless an earfier date Is speCified In Ille notice ofnonrenewat.
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